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   VIA EMAIL & CERTIFIED MAIL                                                     December 3, 2021

   The Hon. Jena Griswold
   Colorado Secretary of State
   1700 Broadway, Ste. 550
   Denver, CO 80290
   Email: elections@sos.state.co.us; Chris.Beall@coloradosos.gov; judd.choate@sos.state.co.us;
   hilary.rudy@sos.state.co.us; Melissa.Kessler@coloradosos.gov

   RE: Notice of NVRA Violation

   Dear Secretary Griswold:

   Pursuant to 52 U.S.C. § 20510(b)(1), this letter serves as statutory notice to you as Colorado’s
   chief election official that Colorado is in violation of the National Voter Registration Act
   (NVRA) for failure to maintain voter list maintenance records for at least two (2) years, as
   required by the National Voter Registration Act (“NVRA”), 52 U.S.C. § 20507(i).

   You are hereby notified that you now face federal litigation if you do not take steps to cure your
   violation of law.

   Background

   Section 8(i) of the NVRA provides,

          Each State shall maintain for at least 2 years and shall make available for public
          inspection and, where available, photocopying at a reasonable cost, all records
          concerning the implementation of programs and activities conducted for the
          purpose of ensuring the accuracy and currency of official lists of eligible voters,
          except to the extent that such records relate to a declination to register to vote or to
          the identity of a voter registration agency through which any particular voter is
          registered.

   52 U.S.C. § 20507(i)(1) (emphasis added). The records the NVRA describes are commonly
   referred to as “voter list maintenance” records.

   On June 24, 2021, pursuant to the NVRA, the Foundation requested from the Colorado Secretary
   of State (“COSOS”) the opportunity to inspect or receive certain voter list maintenance records.
   The Foundation requested (1) “[a]ll ‘ERIC Data’ received from [the Electronic Registration
   Information Center (“ERIC”)] during the years 2019, 2020, and 2021 concerning registered
   voters identified as deceased or potentially deceased” and (2) “all reports and/or statewide-voter-
   registration-system-generated lists showing all registrants removed from the list of eligible voters
   for reason of death for the years 2019, 2020, and 2021.”


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   On August 18, 2021, COSOS denied Request 1, related to “ERIC Data.” The Foundation
   previously notified Secretary Griswold, on August 20, 2021, that her denial of that request
   violates the NVRA. Your office has still not cured that violation.

   On November 18, 2021, COSOS wrote a letter to the Foundation, in which your office confirmed
   the denial of our records request. Your office also explained that “[e]ach month” the Colorado
   Department of State “receives a deceased voter list created by ERIC based on a comparison of
   data sources that ERIC obtains from a variety of sources[.]” Your office explained further that
   “[t]hese data, in conjunction with data imported into SCORE from other sources, make up the
   list maintenance record that CDOS relies on.” In other words, your office “relies on” the
   “deceased voter list created by ERIC” to perform voter list maintenance.

   However, your letter explains that your office “only maintain copies of the deceased voter lists
   received from ERIC for a few months,” rather than the two (2) years the NVRA requires.

   Violation of the National Voter Registration Act

   As your office’s letter explains, Colorado relies on the “deceased voter list created by ERIC” to
   perform voter list maintenance. That deceased voter list is therefore a record within the scope of
   the NVRA’s Public Disclosure Provision, 52 U.S.C. § 20507(i)(1). However, your office admits
   that it does not maintain that deceased voter list for two (2) years.

   Failure to maintain voter list maintenance records for at least two (2) years is a violation of
   federal law for which the NVRA provides a private-right-of-action. 52 U.S.C. § 20510(b).

   Secretary Griswold is hereby notified that Colorado is violating the NVRA and that litigation
   may commence against her office if the violations described herein are not cured within 90 days
   of the receipt of this letter. 52 U.S.C. § 20510(b)(2). For lawsuits initiated by a private party, an
   award of attorney’s fees, expenses, and costs incurred is available under 52 U.S.C. § 20510(c).
   The Foundation was recently awarded attorney’s fees and litigation expenses as the prevailing
   party in an action to enforce the NVRA’s public inspection rights.1

   If the violations described herein are not cured in the time afford by law, we will have no choice
   but to pursue remedies in federal court.

   Thank you for your continued attention on this matter.

   Sincerely,




   Logan Churchwell
   Research Director
   Public Interest Legal Foundation
   1
       Doc. 97, Public Interest Legal Foundation v. Bennett, No. 4:18-cv-0981 (entered June 30, 2021).

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